                             Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 1 of 32


                         1   McCormick, Barstow, Sheppard,
                             Wayte & Carruth LLP
                         2   Marshall C. Whitney, #82952
                              marshall whitney@mccormickbarstow. com
                         3   Kristi D. Marshall, #274625
                              kristi.marshall@mccormickbarstow, com
                         4   16A1 North Fresno Street
                             Fresno, California 93720
                         5   Telephone:     (559)433-1300
                             Facsimile:     (559) 433-2300
                         6
                             Attorneys for JOHN ROBERTS and TEXAS
                         7   ENVIRONMENTAL PRODUCTS, INC.

                         8

                         9
                                                           UNITED STATES DISTRICT COURT
                        10
                                              EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                        11

                        12
                             ARIEL ELIA, individually and as Successor            Case No. l:16-CV-00557-AWI-EPG
                        13   Trustee to the Alan Elia Declaration of Trust
                             Dated March 18,2002,                                 DEFENDANTS JOHN ROBERTS AND
                        14                                                        TEXAS ENVIRONMENTAL PRODUCTS,
                                            Plaintiff,                            INC.'S NOTICE OF LODGMENT OF
                        15                                                        DISCOVERY RESPONSES TO BE USED
                                    V.                                            AT TRIAL
                        16
                             JOHN ROBERTS, an individual; TEXAS
                        17   ENVIRONMENTAL PRODUCTS, INC., a
                             Texas corporation; and TEXAS
                        18   ENVIRONMENTAL PRODUCTS, a                            Trial Date:    October 31,2017
                           partnership, joint venture or other form of
 "                      19 business organization unknown, and DOES 1
                           through 20, inclusive.
                        20
                                            Defendant.
                        21

                        22          Pursuant to Section IX of the Court's Pretrial Order filed on September 18,2017, Defendants

                        23   JOHN ROBERTS and TEXAS ENVIRONMENTAL PRODUCTS, INC. hereby lodge the following

                        24   discovery responses to be used at the trial of this matter:
                        25           1.     Plaintiff Ariel Elia's Responseto Defendants' Request for Productionof Documents,
                        26   Set No. One;

                        27          2.      Plaintiff Ariel Elia's Response to Defendants' Interrogatories, Set No. One;
                        28          3.      Plaintiff Ariel Elia's Response to Defendants' Interrogatories, Set No. Two;
MCCORMICK. BaRSTOW.
 Sheppard. WAYTE&
     Carruth LLP                  DEFENDANTS JOHN ROBERTS AND TEXAS ENVIRONMENTAL PRODUCTS, INC.'S NOTICE OF
7647 NORTH FRESNO STREET
     FRESNO. CA 93720
                                                 LODGMENT OF DISCOVERY RESPONSES TO BE USED AT TRIAL
                             Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 2 of 32


                        1            4.       PlaintiffAriel Elia's Response to Defendants' Request forProduction of Documents,
                       2    Set No. Two;

                       3             5.       Plaintiff Ariel Elia's Response to Defendants' Interrogatories, SetNo. Three.
                       4    Dated: October 26, 2017                               McCORMICK, BARSTOW, SHEPPARD,
                                                                                         WAYTE & CARRUTH LLP
                       5

                       6

                                                                               By:.        /s/ Marshall C. Whitney
                        7
                                                                                             Marshall C. Whitney
                        8                                                                     Kristi D. Marshall
                                                                                 Attorneys for JOHN ROBERTS and TEXAS
                        9                                                          ENVIRONMENTAL PRODUCTS, INC.

                       10   75030-000004768676.1


                       11

                       12

                       13

                       14

                       15

                       16

                       17

                       18

                       19

                       20

                       21

                       22

                       23

                       24

                       25

                       26

                       27

                       28
MCCORMICK.BaRSTOW.
 Shepparo. Wayte &
     Carruth LLP                   DEFENDANTS JOHN ROBERTS AND TEXAS ENVIRONMENTAL PRODUCTS, INC.'SNOTICE OF
7647 NORTH FRESNO STREET
    FRESNO. CA 93720
                                                   LODGMENT OF DISCOVERY RESPONSES TO BE USED AT TRIAL
                            Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 3 of 32


                       1   Neal E. Costanzo SEN 122352
                           Michael G. Slater SEN 247302
                       2   Costanzo & Associates, PC
                           575 E. Locust Ave., Ste. 115
                       3   Fresno, California 93720
                           Telephone:     (559) 261-0163
                       4   Facsimile:     (559) 261-0706

                       5   Attorneys for ARIEL ELIA

                       6

                       7
                                                          UNITED STATES DISTRICT COURT
                       8
                                            EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                       9

                      10
                           ARIEL ELIA, individually and as Successor          Case No. l:16-CV-00557-AWI-EPG
                      11   Trustee to the Alan Elia Declaration of Trust
                           Dated March 18,2002,
                      12
                                          Plaintiff,                          RESPONSE TO REQUEST FOR
                      13                                                      PRODUCTION OF DOCUMENTS TO
                                  V.                                          PLAINTIFF, SET ONE
                      14
                           JOHN ROEERTS, an individual; TEXAS
                      15   ENVIRONMENTAL PRODUCTS, INC., a
                           Texas corporation; and TEXAS
                      16   ENVIRONMENTAL PRODUCTS, a
                           partnership, joint venture or other form of
                      17   business organization unknown, and DOES 1
                           through 20, inclusive.                                 Trial Date:    August 31,2017
                      18
                                          Defendant.
                      19

                      20   PROPOUNDING PARTY:                DEFENDANTS JOHN ROBERTS AND TEXAS

                      21                                     ENVIRONMENTAL PRODUCTS, INC.

                      22   RESPONDING PARTY:                 PLAINTIFF ARIEL ELIA

                      23   SET NO.:                          ONE

                      24                                    PRELIMINARY STATEMENT

                      25          Plaintiff, ARIEL ELIA, individually and as SuccessorTrustee to the Alan Elia Declaration
                      26
                           of Trust DatedMarch 18,2002, has not yet completed discovery in this action, preparation fortrial
                      27
                           or investigation of the facts relating to the case. Consequently, each of the responses contained
                      28
MCCORMICK,BARSTOW,
 SHEPPARD,WAYTE&
     CarruthLLP            {0001476LDOCX;1}                                   1
7647 NORTH FRESNO STREET
    coecMr\   0^790                RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET ONE
                                 Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 4 of 32


                        1       herein are based on such information and documents as are presently available and specifically
                        2       known to Plaintiffand disclose onlythose contentions whichpresently occur to Plaintiff. It is
                        3
                                anticipated that further discovery, independent investigation, legal research and analysis will
                        4
                                supply additional facts, add meaning tothe known facts, and perhaps establish entirely new factual
                        5
                                conclusions and legal contentions, allofwhich would lead to substantial additions, changes inand
                        6
                                variations from the answers contained herein.
                        7

                        8               The following responses, therefore, aregiven without prejudice to Plaintiffs right to
                        9       produce evidence of any subsequently discovered fact ordocument which Plaintiffmay later
                        0       discover, recall or locate. Plaintiffaccordingly reserves its right to amend any and all ofthe
                            1   answers hereinas additional facts are ascertained, analysis made, legalresearch is completed, and

                        2       contentions are formulated.

                        3                             RESPONSES TO REQUESTS FOR PRODUCTION

                        4       REQUEST FOR PRODUCTION NO. 1:

                        5               All DOCUMENTS which support YOUR contention that Alan Elia and ROBERTS were

                        6       engaged in a partnership business as alleged in paragraph 3 of the COMPLAINT.
                        7       RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

                        8               All such document that Plaintiff is personally aware of, were provided with the initial

                       19       disclosure servedon Roberts' Attorney. Discovery has just commenced and further discovery may

                      20        lead to alteration or additions to this response.

                      21        REQUEST FOR PRODUCTION NO. 2:

                      22               All DOCUMENTS which support YOUR contention that Alan Elia and ROBERTS operated a
                      23        business together as alleged in paragraph 6 of the COMPLAINT.

                      24        RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

                      25               Seethe Response to Request for Production No. 1 incorporated by reference.

                      26        REQUEST FOR PRODUCTION NO. 3:

                      27               All DOCUMENTS that REFLECT COMMUNICATIONS with or fi-om Alan Elia

                      28        RELATING TO his businessrelationship with ROBERTS or TEXAS ENVIRONMENTAL.
 MCCORMICK. BARSTOW,
   SKEPPARO,WAVTE &
      Carruth LLP               {00014761 .DOCX;1}                                  2
• 7M7 north FRESNO STREET
                                         DEFENDANTS' REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET ONE
                           Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 5 of 32


                       1   RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

                       2          See theResponse to Request for Production No. 1incorporated by reference.
                       3   REQUEST FOR PRODUCTION NO. 4:

                       4          All DOCUMENTS that REFLECTany damages YOU seek in this action.
                       5   RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
                                                       \


                       6          See theResponse to Request for Production No. 1incorporated byreference.
                       7   REQUEST FOR PRODUCTION NO. 5:

                       8          All DOCUMENTS that REFLECT COMMUNICATIONS with Charles Mosesian
                       9   RELATING TO TEXAS ENVIRONMENTAL.

                     10    RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

                     11           The Request is objected to because it makes no sense. The request seeks documents that
                     12    reflect communications witihi Charles Mosesian, but it does not indicate who such communications
                     13    were with. Assuming the reference isto communication between Charles Mosesian and Anel Elia,
                     14    Charles Mosesian has relayed to Ariel Elia the fact that Roberts and Elia operated the business
                           involving manufacture and/or sale offertilizer products as apartnership orjointventure and slmredthe
                     16    profits ofthat business; that inthe two months prior to his death, Alan Eliatold Charles Mosesianthat
                     17    he hadsold 60 loads of fertilizer products during the previous two months (January and February);
                     18    and, has relayed to Ariel felia that AlanEliaand John Roberts would have functions orparties forthen-
                     19    clientsor customers, whichwere conducted at Charles Mosesian's residence, andthat each of them
                     20    consistently represented to all oftheir customers atthese parties orfunctions aswell as injoint and
                     21    separate meetings, that the two were engaged in a joint venture or partnership with respect to the
                     22    manufacture and sale offertilizer products, and thatthey intended and were engaged inattempts tosell
                     23    that business just prior to Alan Elia's death. There are no documents that reflect any of these
                     24    communications with Charles Mosesian.

                     25    REQUEST FOR PRODUCTION NO. 6:

                     26           All DOCUMENTS that REFLECT COMMUNICATIONS with Charles Mosesian

                     27    RELATING TO ROBERTS.

                     28
McCORMICK. BARSTOW,
 SHEPPARO, WAYTE&
     CarruthLLP            {00014761.DOCX;1}                                  3
7647 NORTH FRESNO STREET
                                   DEFENDANTS' REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET ONE
                            Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 6 of 32



                       1   RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

                      2          See the Response toRequest for Production No. 5 incorporated by reference.
                      3          //

                      4    Dated: September 15,2016                            COSTANZO & ASSOCIATES PC

                      5

                      6
                                                                        By:
                                                                                       Neal E. Costanzo
                      7
                                                                                  Attorneys for ARIEL ELIA ^/
                       8

                       9

                     10

                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
McCormick, Barstow,
 Shepparo. Wayte &
     Carruth LLP
                           {00014761.DOCX;1}
7647 NORTH FRESNO STREET
                                      DEFENDANTS' REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET ONE
                           Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 7 of 32


                      1                                         PROOF OF SERVICE

                      2   STATE OF CALIFORNIA, COUNTY OF FRESNO
                      3          At the time of service, I was over 18 years of age and not a party to this action. I am
                   . 4
                          employed in the Coimty ofFresno, State ofCalifornia. My business address is 575 E. Locust Avenue,
                          Suite 115, Fresno, CA 93720.
                      5
                                 On September 15, 2016, I served true copies of the following document(s) described as
                      6   RESPONSES TO INTERROGATORIES TO PLAINTIFF, SETONE onthe interested parties in
                          this action as follows:
                      7
                                 Kristi D. Marshall
                      8          McCormick, Barstow, Sheppard,
                      9
                                 Wayte & Carruth LLP
                                  7647 North Fresno Street
                    10            Fresno, CA 93720

                    11            BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                          persons at the addresses listed in the Service List and placed the envelope for collection and mailing,
                    12    following our ordinary business practices. I am readily familiar with this business's practice for
                    13
                          collecting and processing correspondence for mailing. On the same day that the correspondence is
                          placed for collection and mailing, itis deposited in the ordinary course ofbusiness with the United
                    14    StatesPostalService, in a sealed envelope with postage fiilly prepaid.

                    15           I declare under penalty of peijury under the laws of the United States ofAmerica that the
                          foregoing istrue and correct and that Iam employed in the office ofamember ofthe bar ofthis Court
                    16
                          at whose direction the service was made.
                    17
                                  Executed on September 15,2016, at Fresno, California.
                    18

                    19
                                                                                      ./Ly C
                    20                                                       Julia Sellers

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MCCORMICK. BARSTOW.
 SHEPPARD, WAYTE&
    CarruthLLP            {00014761.DOCX;1}
7M7 NORTH FRESNO STREET
                                   DEFEfJDANTS' REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF, SET ONE
                                Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 8 of 32


                           1   Neal E. Costanzo SBN 122352
                               Michael G. Slater SBN 247302
                           2   Costanzo & Associates, PC
                               575 E. Locust Ave., Ste. 115
                           3   Fresno, California 93720
                               Telephone:     (559)261-0163
                           4   Facsimile:     (559) 261-0706

                           5   Attorneys for ARIEL ELLA

                           6

                        7
                                                              UNITED STATES DISTRICT COURT
                           8
                                                EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
                           9

                       10
                               ARIEL ELLA, individually and as Successor           Case No. 1:16-CV-00557-AWI-EPG
                       11      Trustee to the Alan Elia Declaration of Trust
                               D^ted March 18,2002,                                RESPONSES TO DEFENDANTS'
                       12                                                         INTERROGATORIES TO PLAINTIFF,
                                              Plaintiff,                           SET ONE
                       13
                                       V.                                         Trial Date:        August 31,2017
                       14
                               JOHN ROBERTS, an individual; TEXAS
                       15      ENVIRONMENTAL PRODUCTS, INC., a
                               Texas corporation; and TEXAS
                       16      ENVIRONMENTAL PRODUCTS, a
                               partnership, joint venture or other form of
                       17      business organization unknown, and DOES 1
                               through 20, inclusive,
                       18
                                              Defendant.
                       19

                       20      PROPOUNDING PARTY:                DEFENDANTS JOHN ROBERTS AND TEXAS

                       21                                        ENVIRONMENTAL PRODUCTS, INC.

                       22      RESPONDING PARTY:                 PLAINTIFF ARIEL ELIA

                       23      SET NO.:                          ONE

                       24                                       PRELIMINARY STATEMENT

                       25             Plaintiff, ARIEL ELIA, individually and as Successor Trustee to the Alan Elia Declaration
                       26
                               of Trust Dated March 18,2002, has not yet completed discovery in this action, preparation for trial
                       27
                               or investigation of the facts relating to the case. Consequently, each of the responses contained
                       28
MCCORMUCK. BARSTOW,
 SKEPPARD, WAYTE&
     Carrltth LLP              {00014759.DOCX;1}                          1
7647 NORTH FRESNO STREET
    FRESNO. CA 63720
                                                    DEFENDANTS' INTERROGATORIES TO PLAINTIFF, SET ONE
                                 Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 9 of 32


                            1   herein are based on such information and documents as are presently available and specifically
                            2   knownto Plaintiffand disclose only those contentions whichpresently occur to Plaintiff. It is
                            3
                                anticipated that further discovery, independent investigation, legal research and analysis will
                            4
                                supply additional facts," add meaning to the known facts, and perhaps establish entirely new factual
                            5
                                conclusions and legal contentions, all ofwhich would lead to substantial additions, changes in and
                            6
                                variations from the answers contained herein.
                            7

                            8          The following responses, therefore, are given without prejudice to PlaintijBPs right to

                            9   produce evidence ofany subsequently discovered fact ordocument which Plaintiffmay later
                           10   discover, recall or locate. Plaintiff accordingly reserves its right to amend any and all ofthe
                           11   answersherein as additional facts are ascertained, analysis made, legal research is completed, and

                           12   contentions are formulated.

                           13                                 ANSWERS TO INTERROGATORIES

                           14   INTERROGATORY NO. 1;

                           15          Please setforth allfacts supporting or RELATING TO YOUR contention thatAlan Elia and
                           16   ROBERTS were engaged in a partnership business as alleged in paragraph 3 oftheCOMPLAINT.
                           17   RESPONSE TO INTERROGATORY NO. 1:

                           18          Plaintiffis Alan Elia's daughter was never involved in or made aware offacts bearing onthe

                           19   nature ofthebusiness relationship between Alan Elia and Roberts, other than conversations with Alan
                           20   Elia in which Alan Elia specifically advised her that the manufacture and sale of fertilizer products
                           21   under the name Texas Environmental Products or Texas EnvironmentalProducts,Inc.was a business

                           22   that Alan Elia operatedjointly with John Roberts and that the two shared profits from operation ofthat
                           23   business and were jointly involved in attempts to sell that business prior to Alan Elia's death. The
                           24   remaining facts supporting the contention that Alan Elia and Roberts were engaged ina partnership
                           25   business asalleged inparagraph 3 ofthe Complaint isbased upon those commumcations, inaddition
                           26   to communications to Ariel Elia or to Britz Elia by Alan Elia's wife, Belinda Elia,Alan Elia's close

                           27   personal friend, Charles Mosesian, both of whom have stated the fertilizer manufacture and sale
                           28   business operated by Elia and Roberts was operated as apartnership orjoint venture and that the two
McCormick, Barstow,
 Sheppard. Wayte &
     Carruth LLP                {00014759.DOCX;1}
7647 north FRESNO STREET
    c o c c M o rA cnTMi
                                                     RESPONSES TO DEFENDANTS' INTERROGATORIES SET ONE
                           Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 10 of 32


                       1   shared profits from the operation ofthat business and jointly attempted to sell the business shortly
                       2   prior to Alan Ella's death. Plaintiffbelieves based on these communications that Roberts and Elia
                       3   each held themselves out asbeing partners engaged ina partnership business orjoint venture. Other
                       4   facts exist, but are not inthe personal knowledge ofPlaintiff, Ariel Elia. Discovery is continuing.
                       5   INTERROGATORY NO. 2:

                       6          Please IDENTIFY all PERSONS who support YOUR contention that Alan Elia and
                       7   ROBERTS were engaged in a partnership business as alleged inparagraph 3 ofthe COMPLAINT.
                       8   RESPONSE TO INTERROGATORY NO. 2;

                       9   The persons Plaintiffis aware ofare those identified in the initial disclosure previously provided to
                     10    Roberts and his attorney. Discovery is continuing and may lead to additions and modifications or
                     11
                           alterations to this response.
                     12
                           INTERROGATORY NO. 3;
                     13
                                   Please IDENTIFY all DOCUMENTS which support YOUR contention that Alan EHa and
                     14
                           ROBERTS were engaged ina partnership business as alleged inparagraph 3 ofthe COMPLAINT.
                     15
                           RESPONSE TO INTERROGATORY NO. 3;
                     16
                                   Allsuch documents, to theextent known toor in thepossession ofPlaintiff, are identified in
                     17
                           the initial disclosure previously served on Roberts' Attorney.
                     18
                           INTERROGATORY NO. 4;
                     19
                                   Please set forth all facts supporting orRELATING TO YOUR contention that Alan Elia and
                     20
                           ROBERTS operated a business together as alleged in paragraph 6 ofthe COMPLAINT.
                     21
                           RESPONSE TO INTERROGATORY NO. 4:
                     22
                                   Seethe Response to Interrogatory No. 1 incorporated by reference.
             ,       23
                           INTERROGATORY NO. 5:
                     24
                                   Please IDENTIFY all PERSONS who support YOUR contention that Alan Elia and
                     25
                           ROBERTS operated a business together as alleged in paragraph 6 ofthe COMPLAINT.
                     26
                           RESPONSE TO INTERROGATORY NO. 5:
                     27
                                   See the Response to Interrogatory No. 2, incorporated by reference.
                     28
MCCORMiCK,BARSTOW,
 SH£PPAR0.WAYTE&
     CARRUTHLLP            {00014759.DOCX;1}                                  3
7M7 HCWTH FRCSf*) STREET
                                                 RESPONSES TO DEFENDANTS' INTERROGATORIES SET ONE
                             Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 11 of 32



                      1      INTERROGATORY NO. 6:

                      2            Please IDENTIFY all DOCUMENTS which support YOUR contention that Alan Elia and
                      3      ROBERTS operated a business together as alleged in paragraph 6ofthe COMPLAINT.
                      4      RESPONSE TO INTERROGATORY NO. 6:

                    • 5            See theResponse to Interrogatory No. 3 incorporated by reference.
                      6

                      7      Dated: September 15,2016                            COStfANZO & ASSOCIATES, PC

                       8

                       9

                     10
                                                                                          Neal E. Costanzo
                                                                                     Attorneys for ARIEL ELIA
                                                                                                                7
                     11

                     12

                     13

                     14

                     15

                     16

                     17

                     18

                     19

                     20

                     21

                     22

                     23

                     24

                     25

                     26

                     27

                     28
MCCORMICK, BARSTOW,
 SHEPPARO.WAYTE&
     Carruthllp
                             {00014759.DOCX;1}
7647 NfMTH FRESNO STREET '                      RF.SPONSF,S TO DEFENDANTS' INTERROGATORIES SET ONE
                          Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 12 of 32



                      1                                          PROOF OF SERVICE

                     2    STATE OF CALIFORNIA, COUNTY OF FRESNO
                     3           At the time of service, I was over 18 years of age and not a party to this action. I am
                     4
                          employed in the County ofFresno, State ofCalifornia. My business address is 575 E. Locust Avenue,
                          Suite 115, Fresno, CA 93720.
                      5
                                  On September 15, 2016, I served true copies of the following document(s) described as
                      6   RESPONSES TOINTERROGATORIES TOPLAINTIFF, SETONE onthe interested parties in
                          this action as follows:
                      7
                                  Kristi D. Marshall
                      8           McCormick, Barstow, Sheppard,
                      9
                                  Wayte & Carruth LLP
                                  7647 North Fresno Street
                    10            Fresno, CA 93720

                    11            BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                          persons at the addresses listed in the Service List and placed the envelope for collection and maihng,
                    12    following our ordinary business practices. I am readily familiar with this business's practice for
                    13
                          collecting and processing correspondence for mailing. On the same day that the correspondence is
                          placed for collection and mailing, itis deposited in the ordinary course ofbusiness with the United
                    14    States Postal Service, in a sealed envelope with postage fiilly prepaid.
                    15            I declare under penalty ofperjury under the laws ofthe United States ofAmerica that the
                          foregoing is true and correct and that Iam employed in the office ofamember ofthe bar ofthis Court
                    16
                          at whose direction the service was made.
                    17
                                  Executed on September 15,2016, at Fresno, California.
                    18

                    19

                    20                                                            Sellers

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MCCORMICK. BARSTOW.
 SHEPPARD.WAYTE&
    Carruth LLP
                          {00014759.DOCX;1}
7M7 NORTH FRESNO STREET                             nPFFMn ANTS' INTRRROGATORIES TO PLAINTIFF, SET ONE
        Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 13 of 32




SM

Wl




                             SSSii^?




                           sWcf^




                                                               m^
     .,,»a«      i®lis


                                       aMP^lPMgMlMai           p
                                                               p

     JS



                 .7#5^^;
      Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 14 of 32


      Neal E. Costanzo SBN 122352
      Michael G. Slater SBN 247302
     Costanzo & Associates, PC
     575 E. Locust Ave., Ste. 115
     Fresno, California 93720
     Telephone:      (559) 261-0163
 4   Facsimile:      (559) 261-0706

 5   Attorneys for ARIEL ELIA

 6

 7
                                    UNITED STATES DISTRICT COURT
 8
                       EASTERN DISTRICT OF CALIFORNIA. FRESNO DIVISION
 9

10
     ARIEL ELIA, individually and as Successor             Case No. l:16-CV-00557-AWI-EPG
11   Trustee to the Alan Elia Declaration of Trust
     Dated March 18,2002,                                  RESPONSES TO DEFENDANTS'
12                                                         INTERROGATORIES TO PLAINTIFF,
                     Plaintiff,                            SET TWO
13
             V.                                            Trial Date:     August 31,2017
14
     JOHN ROBERTS, an individual; TEXAS
15   ENVIRONMENTAL PRODUCTS, INC., a
     Texas corporation; and TEXAS
16   ENVIRONMENTAL PRODUCTS, a
     partnership, joint venture or other form of
17   business organization unknown, and DOES 1
     through 20, inclusive.
18
                    Defendant.
19

20   PROPOUNDING PARTY:                DEFENDANTS JOHN ROBERTS AND TEXAS

21                                     ENVIRONMENTAL PRODUCTS, INC.

22   RESPONDING PARTY:                 PLAINTIFF ARIEL ELIA

23   SET NO.:                          TWO

24                                    PRELIMINARY STATEMENT

25          Plaintiff, ARIEL ELIA, individually and as Successor Trustee to the Alan Elia Declaration
26
     of Trust Dated March 18, 2002, has not yet completeddiscovery in this action, preparation for trial
27
     or investigation ofthe facts relating to the case. Consequently, each of the responses contained
28


                                                       1
                           DEFENDANTS' INTERROGATORIES TO PLAINTIFF, SET TWO
      Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 15 of 32


 1   herein are based on such information and documents as are presently available and specifically

 2   known to Plaintiff and disclose only those contentions which presently occur to Plaintiff. It is
 3
     anticipated that further discovery, independent investigation, legal research and analysis will
 4
     supply additional facts, add meaning to the known facts, andperhaps establish entirely new factual
 5
     conclusions and legal contentions, all of which would lead to substantial additions, changes in and
 6
     variations from the answers contained herein.
 7

 8           The following responses, therefore, are given withoutprejudice to Plaintiffs right to

 9   produce evidence of any subsequently discovered fact or document which Plaintiff may later

10   discover, recall or locate. Plaintiff accordingly reserves its right to amend any and all of the

11   answers herein as additional facts are ascertained, analysis made, legal research is completed, and

12   contentions are formulated.

13                                 ANSWERS TO INTERROGATORIES

14   RESPONSE TO INTERROGATORY NO. 7:

15          The persons Plaintiff is aware of who claim to have heardRoberts call Alan Elia his partner

16   are the personswho have provideddepositiontestimonyin thisaction whohavetestified to thateffect,

17   and those deposition transcripts are equally available to all parties so that to the extent the

18   interrogatories calls for the disclosure oftestimony contained in a depositiontranscriptit is objectedto

19   on the groimds that it is imduly burdensome and oppressive. In addition to those persons who have

20   provided deposition testimony to this effect. Plaintiff believes the following individuals have heard

21   Roberts call Alan Elia his partner: Kim and Alene Sullivan who's telephone number and city of

22   residence was disclosed by Ross Casabone at his deposition, James Erickson, Lee Erickson, both of

23   whom conduct business at 10787 Road 29 Vt. Madera, California 93639. Jim Erickson's cellular

24   telephone number is (559) 871-0661 and the residence telephone for Jim Erickson is (559) 674-2529.

25   Plaintiffis unaware ofthe telephone number for Lee Erickson. Other members ofthe Erickson family

26   whose identities are not precisely known to Plaintiff. Ralph Pistoresi whose address 29808 Avenue 12

27   Madera, California 93638 and whose telephone number is (559) 674-7519. Fred Franzia who operates

28   Bronco Winery and whose address is otherwise not known to the plaintiff at this time. Various


                          RESPONSES TO DEFENDANTS' INTERROGATORIES SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 16 of 32


 1   representatives ofGallo Winery orformer representatives ofGallo Winery including those named by
 2   John Roberts at the time of his deposition. Plaintiff has no additional identifying information
 3   concerning such persons. There are numerous other persons who Plaintiffisaware have heard Roberts
 4   callAlan Eliahis partner, all of whom were customers of Texas Environmental Products prior to the
 5   date of Alan Elia's death and all of whom appear on the printed list of contacts produced by John
 6   Roberts at the time of his deposition.

 7   RESPONSE TO INTERROGATORY NO. 8:

 8          SeetheResponse to Interrogatory No.7, Plaintiffdoes notknow whether thereference toAlan
 9   Eliabeing "anowner" inTexas Environmental is intended tomean the same thing asRoberts referring
10   to Elia as his partner, but in substance, in Plaintiffs interpretation of this interrogatory they must
11   mean the same thing. Therefore, all ofthe persons named in Interrogatory No. 7.
12   RESPONSE TO INTERROGATORY NO. 9;

13          See the Responseto Interrogatory No. 7 incorporated by reference.
14

15

16   Dated: April 27, 2017                                    COSTANZO &ASSOCIATES, PC
17

18

19                                                                     Neal E. Costanzo
                                                                  Attorneys for ARIEL ELIA
20

21

22

23

24

25

26

27

28



                          RESPONSES TO DEFENDANTS' INTERROGATORIES SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 17 of 32


                                          PROOF OF SERVICE

     STATE OF CALIFORNIA, COUNTY OF FRESNO

 3          At the time of service, I was over 18 years of age and not a party to this action. I am
     employed inthe County of Fresno, State ofCalifornia. Mybusiness address is575 E. Locust Avenue,
 4
     Suite 115, Fresno, CA 93720.
 5
            On April 27, 2017, I served true copies of the following document(s) described as
 6   RESPONSES TO INTERROGATORIES TO PLAINTIFF, SET TWO on the interested parties in
     this action as follows:
 7
             Marshall Whitney
 8
             McCormick, Barstow, Sheppard,
 9
             Wayte & Carruth LLP
             7647 North Fresno Street
10           Fresno, CA 93720

11           BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
     persons atthe addresses listed intheService List and placed the envelope for collection and mailing,
12
     following our ordinary business practices. I am readily familiar with this business's practice for
13
     collecting and processing correspondence for mailing. On the same day thatthe correspondence is
     placed for collection and mailing, it is deposited inthe ordinary course ofbusiness with the United
14   States Postal Service, in a sealed envelope with postage fully prepaid.

15           I declare under penalty of peijury under the laws of the United States of America that the
     foregoing istrue and correct and that I am employed inthe office ofamember ofthe bar ofthis Court
16
     at whose direction the service was made.
17
             Executed on April 27,2017, at Fresno, California.
18

19

20                                                     Shirlene Capuchino

21

22

23

24

25

26

27


28



                           DEFENDANTS' INTERROGATORIES TO PLAINTIFF, SET TWO
         Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 18 of 32




                                                                               m




^t.
'JfrAi




                                     mi             3!a5!2««



                             iwmMl
           p'';^
                                               is^s^sssafi^
                                                               MfefSsS
                                1
                         P
                         m




              mm^^m
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 19 of 32


     Neal E. Costanzo SBN 122352
     Michael G. Slater SBN 247302
 2   Costanzo & Associates, PC
     575 E. Locust Ave., Ste. 115
 3   Fresno, California 93720
     Telephone:     (559) 261-0163
 4   Facsimile:     (559)261-0706

 5   Attorneys for ARIEL ELIA

 6

 7
                                    UNITED STATES DISTRICT COURT
 8
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
 9

10
     ARIEL ELIA, individually and as Successor             Case No. l:16-CV-00557-AWI-EPG
11   Trustee to the Alan Elia Declaration of Trust
     Dated March 18, 2002,
12
                    Plaintiff,                             PLAINTIFF'S RESPONSE TO REQUEST
13                                                         FOR PRODUCTION OF DOCUMENTS,
                                                           SET NO. TWO
14
     JOHN ROBERTS, an individual; TEXAS
15   ENVIRONMENTAL PRODUCTS, INC., a
     Texas corporation; and TEXAS
16   ENVIRONMENTAL PRODUCTS, a
     partnership, joint venture or other form of
17   business organization unknown, and DOES 1
     through 20, inclusive.
18
                    Defendant.
19

20   PROPOUNDING PARTY:                DEFENDANTS JOHN ROBERTS AND TEXAS

21                                     ENVIRONMENTAL PRODUCTS, INC.

22   RESPONDING PARTY:                 PLAINTIFF ARIEL ELIA

23   SET NO.:                          TWO

24                                   PRELIMINARY STATEMENT

25          Plaintiff, ARIEL ELIA, individually and as Successor Trustee to the Alan Elia Declaration
26
     of Trust Dated March 18, 2002, has not yet completed discovery in this action, preparation for trial
27
     or investigation ofthe facts relating to the case. Consequently, each ofthe responses contained
28


     {00015442.DOCX;1}                                 1
              PLAINTIFF'S RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS, SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 20 of 32


 1   herein are based on such information and documents as are presently available and specifically

 2   known to Plaintiff and disclose only those contentions which presently occur to Plaintiff. It is
 3
     anticipated that further discovery, independent investigation, legal research and analysis will
 4
     supply additional facts, add meaning to the known facts, and perhaps establish entirely new factual
 5
     conclusions and legal contentions, all ofwhich would lead to substantial additions, changes in and
 6
     variations from the answers contained herein.
 7

 8           The following responses, therefore, are given without prejudice to Plaintiffs right to

 9   produce evidence of any subsequently discovered fact or document which Plaintiff may later

 0   discover, recall or locate. Plaintiff accordingly reserves its right to amend any and all ofthe

 1   answers herein as additional facts are ascertained, analysis made, legal research is completed, and

 2   contentions are formulated.

 3                         RESPONSES TO REQUESTS FOR PRODUCTION

 4   REQUEST FOR PRODUCTION NO. 7:

 5           All DOCUMENTS that REFLECT or RELATE TO Allen Elia's estate plan or trust.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 7;

 7           All such documents, to the extent know to Plaintiff, were produced by Robyn Esralian, in

 8   response to a subpoena served by the Propounding Party.

[9   REQUEST FOR PRODUCTION NO. 8:

20           All DOCUMENTS that REFLECT any and all COMMUNICATIONS between YOU and

21   Belinda Elia.

22   RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

23           This request is objected to on the ground that it is overbroad and seeks documents not relevant

24   to the subject matter ofthe action or calculated to lead to the discovery ofadmissible evidence. To the

25   extent Plaintiff, or any attomey acting or her behalf had any communication with Belinda Elia

26   relevant to the Trust assets ofAlan Elia or relating to the business operated by Elia with either Texas

27   Environmental Products, Inc. and/or John Roberts, all such documents were produced in response to

28   the aforementioned subpoena served on Robyn Esralian by the Propounding Party.

     {00015442.DOCX;1}                                  2
              PLAINTIFF'S RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS, SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 21 of 32


 1   REQUEST FOR PRODUCTION NO. 9:

 2          All DOCUMENTS that REFLECT any and all COMMUNICATIONS between YOU and
 3   ROBERTS.

 4   RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

 5          Thisrequestis overbroad andseeksdocuments not relevant to the subjectmatterofthisaction
 6   or calculated to lead to the discovery of admissible evidence. To the extent the request seeks
 7   communications between Ariel Elia, her attorneys and John Roberts or Texas Environmental

 8   Products, Inc., all such documents consist of correspondence by an attomey to Roberts and are
 9   included in documents products by RobynEsralian in response to the aforementioned subpoena.
10   REQUEST FOR PRODUCTION NO. 10:

11          All DOCUMENTS that REFLECT any agreements between YOU and Belinda Elia
12   RELATING TO Allen Elia's estate or otherwise RELATING TO the disposition of his assets.

13   RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

14          All such documents, to the extent there are any, are included in those produced by Robyn
15   Esralian in response to theaforementioned subpoena andarein the Propounding Party's possession.
16   REQUEST FOR PRODUCTION NO. 11:

17          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and William

18   Civiello RELATING TO Allen Elia's or Belinda Elia's financial affairs.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

20          There are no such documents.

21   REQUEST FOR PRODUCTION NO. 12;

22          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Harold
23   Zinkin RELATING TO Allen Elia's estate.

24   RESPONSE TO REQUEST FOR PRODUCTION NO. 12:

25          This request is object to on the ground that it invades the attomey-client or work product
26   privileges. To the extent these are unprivileged documents, see the Response to Request for
27   Production No. 10 incorporated by reference.

28


     {00015442.DOCX;1}                               3
              PLAINTIFF'S RESPONSE TO REQUESTFOR PRODUCTIONOF DOCUMENTS, SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 22 of 32


 1   REQUEST FOR PRODUCTION NO. 13:

 2          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Harold
 3   Zinkin RELATING TO Allen Elia's estate administration.

 4   RESPONSE TO REQUEST FOR PRODUCTION NO. 13:

 5          See the Response to RequestNo. 12 incorporated by reference.
 6   REQUEST FOR PRODUCTION NO. 14:

 7          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Harold
 8   Zinkin RELATING TO TEXAS ENVIRONMENTAL.

 9   RESPONSE TO REQUEST FOR PRODUCTION NO. 14:

10          See the Response to RequestNo. 12 incorporated by reference.
11   REQUEST FOR PRODUCTION NO. 15:

12          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Brian
13   Wagner RELATING TO Allen Elia's estate.
14   RESPONSE TO REQUEST FOR PRODUCTION NO. 15:

15          See the Response to RequestNo. 10 incorporated by reference.
16   REQUEST FOR PRODUCTION NO. 16;

17          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Brian
18   Wagner RELATING TO Belinda Elia's estate.

19   RESPONSE TO REQUEST FOR PRODUCTION NO. 16:

20          See the Response to RequestNo. 10 incorporated by reference.
21   REQUEST FOR PRODUCTION NO. 17:

22          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Charles
23   Mosesian RELATING TO Allen Elia's estate.

24   RESPONSE TO REQUEST FOR PRODUCTION N0.17:

25          This request is objected toonthe ground that it calls for documents protected bytheattorney-
26   client and/or work product privileges. Charles Mosesian is a person who has been present during
27   communications with Ariel Elia and her attorney whose presence during such commumcations,
28   whether written or oral occurs in the interest of the client, Ariel Elia. There are no unprivileged

     {00015442.DOCX;l}                                4
              PLAINTIFF'S RESPONSE TO REQUEST FOR PRODUCTION OFDOCUMENTS, SETTWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 23 of 32


 1   documents.

 2   REQUEST FOR PRODUCTION N0.18:

 3          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Charles
 4   Mosesian RELATING TO Allen Elia's estate administration.

 5   RESPONSE TO REQUEST FOR PRODUCTION NO. 18:

 6          This requestis objectedto on the groundthat it calls for documents protectedby the attomey-
 7   client and/or work product privileges. Charles Mosesian is a person who has been present during
 8   communications with Ariel Elia and her attomey whose presence during such communications,

 9   whether written or oral occurs in the interest of the client, Ariel Elia. There are no unprivileged

10   documents.

11   REQUEST FOR PRODUCTION N0.19:

12          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Charles
13   Mosesian RELATING TO TEXAS ENVIRONMENTAL.

14   RESPONSE TO REQUEST FOR PRODUCTION NO. 19:

15          Thisrequestis objectedto on the groundthat it calls for documents protectedby the attomey-
16   client and/or work product privileges. Charles Mosesian is a person who has been present during
17   communications with Ariel Elia and her attomey whose presence during such communications,
18   whether written or oral occurs in the interest of the client, Ariel Elia. There are no unprivileged

19   documents.

20   REQUEST FOR PRODUCTION NO. 20:

21          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Aileen

22   Sullivan RELATING TO Allen Elia.

23   RESPONSE TO REQUEST FOR PRODUCTION NO. 20:

24          There are no such documents.

25   REQUEST FOR PRODUCTION N0.21:

26          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Aileen
27   Sullivan RELATING TO ROBERTS.

28


     {00015442.DOCX;1}                                5
              PLAINTIFF'S RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS, SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 24 of 32


 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 21:

 2          There are no such documents.

 3   REQUEST FOR PRODUCTION NO. 22:

 4          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Aileen

 5   Sullivan RELATING TO TEXAS ENVIRONMENTAL.

 6   RESPONSE TO REQUEST FOR PRODUCTION NO. 22;

 7          There are no such documents.

 8   REQUEST FOR PRODUCTION NO. 23;

 9          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Kim

10   Sullivan RELATING TO AUen Elia.

11   RESPONSE TO REQUEST FOR PRODUCTION NO. 23:

12          There are no such documents.

13   REQUEST FOR PRODUCTION NO. 24:

14          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Kim
15   Sullivan RELATING TO ROBERTS.

16   RESPONSE TO REQUEST FOR PRODUCTION NO. 24:

17          There are no such documents.

18   REQUEST FOR PRODUCTION NO. 25:

19          All DOCUMENTS that REFLECT any COMMUNICATIONS between YOU and Kim

20   Sullivan RELATING TO TEXAS ENVIRONMENTAL.

21   RESPONSE TO REQUEST FOR PRODUCTION NO. 25:

22          There are no such documents.

23         //

24   Dated: June 6, 2017                                COS^ANZO & ASSOCIATES PC
                                                                \
25

26
                                                By:_J
27                                                        ^   ~Ngal E. Costanzo
                                                          Attomeys for ARIEL ELIA
28


     {00015442.DOCX;1}                           6
                PLAINTIFF'S RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS, SET TWO
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 25 of 32


 1                                        PROOF OF SERVICE

 2   STATE OF CALIFORNIA, COUNTY OF FRESNO

 3          At the time of service, I was over 18 years of age and not a party to this action. I am
     employed in the County of Fresno, State of California. Mybusiness address is 575 E.Locust Avenue,
 4
     Suite 115, Fresno, CA 93720.
 5
          On June 6, 2017, I served true copies of the following document(s) described as
 6   PLAINTIFF'S RESPONSE TO REQUEST FOR PRODUCTION OF DOCUMENTS, SET
     TWO on the interested parties in this action as follows:
 7                          I

            Kristi D. Marshall
 8
            Marshall Whitney
            McCormick, Barstow, Sheppard,
 9
            Wayte & Carruth LLP
10          7647 North Fresno Street
            Fresno, CA 93720
11
            BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
12

13
     collecting and processing correspondence formailing. Onthesame day thatthe correspondence is
14   placed for collection and mailing, it is deposited inthe ordinary course ofbusiness with the United
     States Postal Service, in a sealed envelope with postage fully prepaid.
15
            I declare under penalty of peijury under the laws of the United States of America that the
16
     foregoing istrue and correct and that I am employed intheoffice ofa member ofthebarofthis Court
     at whose direction the service was made.
17

18          Executed on June 6,2017, at Fresno, California.

19

20
                                                      Julia Sellers
21

22

23

24

25

26

27

28


     {00015442.DOCX;1}
             DEFENDANTS' REQUEST FORPRODUCTION OF DOCUMENTS TO PLAINTIFF, SETONE
Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 26 of 32




                                                                       •Ui




                                                               "VS V
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 27 of 32


 1   Neal E. Costanzo SEN 122352
     Michael G. Slater SEN 247302
 2   Costanzo & Associates, PC
     575 E. Locust Ave., Ste. 115
 3   Fresno, California 93720
     Telephone:     (559) 261-0163
 4   Facsimile:     (559) 261-0706

 5   Attorneys for ARIEL ELIA

 6

 7
                                    UNITED STATES DISTRICT COURT
 8
                      EASTERN DISTRICT OF CALIFORNIA, FRESNO DIVISION
 9

10
     ARIEL ELIA, individually and as Successor          Case No. l:16-CV-00557-AWI-EPG
11   Trustee to the Alan Elia Declaration of Trust
     Dated March 18, 2002,                              PLAINTIFF'S RESPONSES TO
12                                                      INTERROGATORIES SET NO THREE
                    Plaintiff,
13
             V.

14
     JOHN ROBERTS, an individual; TEXAS
15   ENVIRONMENTAL PRODUCTS, INC., a
     Texas corporation; and TEXAS
16   ENVIRONMENTAL PRODUCTS, a
     partnership, joint venture or other form of
17   business organization unknown, and DOES 1
     through 20, inclusive.
18
                    Defendant.
19

20   PROPOUNDING PARTY:                DEFENDANTS JOHN ROBERTS AND TEXAS

21                                     ENVIRONMENTAL PRODUCTS, INC.

22   RESPONDING PARTY:                 PLAINTIFF ARIEL ELIA

23   SET NO.:                          THREE

24                                   PRELIMINARY STATEMENT

25          Plaintiff, ARIEL ELIA, individually and as Successor Trustee to the Alan Elia Declaration
26
     of Trust Dated March 18,2002, has not yet completed discovery in this action, preparation for trial
27
     or investigation ofthe facts relating to the case. Consequently, each of the responses contained
28


     {00015441.DOCX;1}                            1
                       PLAINTIFF'S RESPONSES TO INTERROGATORIES SET NO THREE
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 28 of 32


 1   herein are based on such information and documents as are presently available and speciJScally

 2   knownto Plaintiffand disclose only those contentions whichpresentlyoccurto Plaintiff. It is
 3
     anticipated thatfurther discovery, independent investigation, legal research and analysis will
 4
     supply additional facts, add meaning to the known facts, and perhaps establish entirely new factual
 5
     conclusions and legal contentions, all of which would leadto substantial additions, changes in and
 6
     variations from the answers contained herein.
 7

 8          The following responses, therefore, are given without prejudice to Plaintiffs rightto

 9   produce evidence of any subsequently discovered fact ordocument which Plaintiffmay later
 0   discover, recall or locate. Plaintiffaccordingly reserves its rightto amend any and all of the

 1   answers herein as additional facts are ascertained, analysis made, legal research is completed, and

 2   contentions are formulated.

 3                                 ANSWERS TO INTERROGATORIES

 4   INTERROGATORY NO. 10;

 5          IDENTIFYall PERSONS not previouslyidentified in YOUR INITIALDISCLOSURES that

 6   YOU are aware of who have any knowledge RELATING TO the claims alleged in paragraph 3

 7   YOUR COMPLAINT.

 8   RESPONSE TO INTERROGATORY NO. 10;

[9          Every person who has given a deposition in this action and every person named in the

20   customer phone list datedAugust 8,2016, every personnamed in the customer balance detail dated

21   December9,2015. To the extent suchpersonsare corporations or otherartificial entities, theperson or

22   persons responsible for purchasing of fertilizer products. The persons named in the printout of

23   telephone numbers,presumably from Alan Elia's cell phone included as Exhibit 16to the deposition

24   transcript of John Roberts. There may be others not immediately identifiable to Plaintiff.

25   INTERROGATORY NO. 11:

26          IDENTIFY all PERSONS not previously identified in YOUR INITIAL DISCLOSURES that

27   YOU are aware of who have any knowledge RELATING TO the claims alleged in paragraph 6

28   YOUR COMPLAINT.


     {0001544 l.DOCX;!}                                2
                         RESPONSES TO DEFENDANTS' INTERROGATORIES SET ONE
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 29 of 32


 1   RESPONSE TO INTERROGATORY NO. Ill:

 2          See the Response to Interrogatory No. 10 incorporated by reference.
 3   INTERROGATORY NO. 12:

 4          IDENTIFY the full name and last known residence and business telephone number and

 5   address, including the city, state, and zip code, for Kim Sullivan, who was referenced by Stephanie
 6   Meyer at her deposition takenon April 19,2017, in the above-entitled matter.
 7   RESPONSE TO INTERROGATORY NO. 113:

 8          The answer to this interrogatory can be derived by reading the deposition transcript for Kim
 9   Sullivan which is available to the Propounding Party.

10   INTERROGATORY NO. 13;

11          IDENTIFY the full name and last known residence and business telephone number and

12   address, including thecity, state, and zip code, for Aileen Sullivan, who was referenced byStephanie
13   Meyer at her deposition taken on April 19,2017, in the above-entitled matter.
14   RESPONSE TO INTERROGATORY NO. 13:

15          Theanswer to this interrogatory can be derived from the reading the deposition transcript of
16   Aileen Sullivan, which is in the Propoimding Party's possession.
17
     Dated: June 6,2017                                      CO TANZO & ASSOCIATES, PC
18

19

20
                                                                     Neal E. Costanzo

21
                                                                Attomeys for ARIEL ELIA

22

23

24

25

26

27

28


     {00015441.DOCX;1}
                          RESPONSES TO DEFENDANTS' INTERROGATORIES SET ONE
     Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 30 of 32


                                          PROOF OF SERVICE

     STATE OF CALIFORNIA, COUNTY OF FRESNO

 3           At the time of service, I was over 18 years of age and not a party to this action. I am
     employed intheCoimty ofFresno, State ofCalifornia. Mybusiness address is 575 E. Locust Avenue,
 4
     Suite 115, Fresno, CA 93720.
 5
          On June 6, 2017, I served true copies of the following document(s) described as
 6   PLAINTIFF'S RESPONSES TO INTERROGATORIES, SET THREE on the interested parties
     in this action as follows:
 7
             Kristi D. Marshall
 8
             Marshall Whitney
 9
             McCormick, Barstow, Sheppard,
             Wayte & Carruth LLP
10           7647 North Fresno Street
             Fresno, CA 93720
11
             BY MAIL: I enclosedthe document(s) in a sealed envelope or package addressed to the
12

13
     collecting and processing correspondence formailing. Onthe same day thatthe correspondence is
14   placed for collection and mailing, it is deposited intheordinary course ofbusiness with the United
     States Postal Service, in a sealed envelope with postage fully prepaid.
15
            I declare under penalty of pequry under the laws of the United States of America that the
16
     foregoing istrueand correct and thatI amemployed intheoffice ofa member ofthe barofthis Court
     at whose direction the service was made.
17

18          Executed on June 6,2017, at Fresno, California.

19

20
                                                      Julia: Sellers
21

22

23

24

25

26

27

28


     {00015441.DOCX;1}
                           DEFENDANTS' INTERROGATORIES TO PLAINTIFF, SET ONE
           Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 31 of 32




                  ' *^
                 '




i   '




                                                            Arlele £fia




        -.••y yy-:r';:v:<yV..^,
                                  /•;->•: v,,;yrv::;A::,;
                            Case 1:16-cv-00557-AWI-EPG Document 80 Filed 10/26/17 Page 32 of 32


                                                                    PROOF OF SERVICE

                            STATE OF CALIFORNIA, COUNTY OF FRESNO

                        3         At the time of service, I was over 18 years of age and not a party to this action. I am
                            employed in the County of Fresno, State of California. My business address is 7647 North Fresno
                        4   Street, Fresno, CA 93720.

                        5        On October 26, 2017, I served true eopies of the following document(s) deseribed as
                            DEFENDANTS JOHN ROBERTS AND TEXAS ENVIRONMENTAL PRODUCTS, INC.'S
                        6   NOTICE OF LODGMENT OF DISCOVERY RESPONSES TO BE USED AT TRIAL on the
                            interested parties in this aetion as follows:
                        7
                                   Neal Costanzo Esq.
                        8          Costanzo & Associates, PC
                                    575 E. Locust Avenue, Suite 115
                        9           Fresno, CA 93720
                                    ncostanzo(a),costanzolaw.com
                       10
                                    BY ELECTRONIC SERVICE (E-MAIL): Based on a court order or an agreement of the
                       11   parties to accept electronic service, my electronic service address service is
                            elizabeth.davis@mccormickbarstow.com, and I caused the document(s) to be sent to the persons at the
                       12   electronic service address(es) listed in the Service List. I did not receive, within a reasonable time
                            after the transmission, any electronie message or other indication that the transmission was
                       13   unsuccessful.

                       14           BY CM/ECF NOTICE OF ELECTRONIC FILING: I will electronically file the
                            document(s) with the Clerk of the Court by using the CM/ECF system. Participants in the case who
                       15   are registered CM/ECF users will be served by the CM/ECF system. Participants in the case who are
                            not registered CM/ECF users will be served by mail or by other means permitted by the court rules.
                       16
                                    I declare under penalty of perjury under the laws of the United States of America that the
                       17   foregoing is true and correct and that I am employed in the office ofa member ofthe bar of this Court
                            at whose direction the service was made.
                       18
                                    Executed on October 26, 2017, at Fresno, Californi
                       19

                       20

                       21

                       22

                       23

                       24

                       25

                       26

                       27

                       28
MCCORMICK, BaRSTOW,
 SMEPPARO, WAYTE&
     Cahruth LLP
7847 NORTH FRESNO STREET
    FRESNO, CA 93720
